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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


UNITED STATES OF AMERICA                          §
                                                  §
vs.                                               §                    2:00CR25(7)
                                                  §
FRANK BLACK                                       §


                         REPORT AND RECOMMENDATION OF
                       THE UNITED STATES MAGISTRATE JUDGE

        On August 4, 2008, the court held a hearing on the government’s petition (#206) to revoke

supervised release. The government was represented by Assistant United States Attorney Mr. Allen

Hurst. The defendant was represented by Mr. Ken Hawk.

        Frank Black was sentenced on August 30, 2000, before the Honorable U.S. District Judge

T. John Ward of the Eastern District of Texas – Marshall Division, after pleading guilty to the

offense of Conspiracy to Manufacture Methamphetamine, a Class B felony. This offense carried

a statutory maximum imprisonment term of 40 years. The guideline imprisonment range, based on

a total offense level of 25 and a criminal history category of V, was 100 to 125 months. Frank Black

was subsequently sentenced to 100 months imprisonment followed by four (4) years of supervised

release subject to the standard conditions of release, plus special conditions to include participation

in a program of testing and treatment for drug abuse as directed by the probation officer. On July

6, 2007, Frank Black completed his period of imprisonment and began service of the supervision

term.

        On July 3, 2008, the instant petition to revoke was filed. In its petition, the government

alleges the defendant violated the following conditions:
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       1) The defendant shall not commit another federal, state or local crime. Specifically, the

government alleges as follows: The defendant was arrested on August 19, 2007, in Hopkins County,

Texas, and charged with driving while intoxicated.

       2) The defendant shall report to the probation officer as directed by the Court or probation

officer, and shall submit a truthful and complete written report within the first five days of each

month. Specifically, the government alleges as follows: The defendant failed to submit a truthful

and complete written report within the first five days of August, September, October, November and

December of 2007, and January, February, March, April, May and June of 2008.

       The court scheduled a final revocation hearing for August 4, 2008. At the hearing on the

government’s petition, and after consenting to the undersigned’s taking the plea, the defendant pled

true to the second allegation as set forth above and the government withdrew the first allegation.

Based on the defendant’s plea of true to the second allegation, and with no objection by the

defendant or the government, the court found that the defendant did violate his conditions of

supervised release as alleged in the U.S. Probation Office’s petition.

       The court thereafter recommended that the defendant be committed to the custody of the

Bureau of Prisons to be imprisoned for seven (7) months, with no term of supervised release to

follow such term of imprisonment. Based on the foregoing, it is

       RECOMMENDED that the defendant’s plea of true to the second allegation as set forth in

the government’s petition be ACCEPTED. Based upon the defendant’s plea of true to the

allegation, it is further recommended that the court find that the defendant violated the conditions

of his supervised release. It is further

       RECOMMENDED that the defendant’s supervised release be REVOKED. It is further


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       RECOMMENDED that the defendant be committed to the custody of the Bureau of Prisons

to be imprisoned for a term of seven (7) months, with no term of supervised release to follow such

term of imprisonment. It is further

       RECOMMENDED that the court request that the Bureau of Prisons place the defendant in

its Seagoville, Texas, facility during the period of his confinement.

       During the August 4, 2008, revocation hearing, both parties waived their right to object to

this report and recommendation.

       SIGNED this 12th day of August, 2008.




                                                     ___________________________________
                                                     CHARLES EVERINGHAM IV
                                                     UNITED STATES MAGISTRATE JUDGE




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